CaSe: 2212-CV-OOJ_91-|\/|P|\/|-.]|\/|V DOC #Z 5 Filed: 01/28/13 l 012 Page|D #Z 22

AO 440 (Rev. 06/|2) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

for the
Northern District of Mississppi

W|LL|AM COLE

 

Plaintij"(s)
V.

Civil Action No. 7] f /L//»/q/';l///W~ \T”Yl/

CARLOS NlEVES-GARC|A and
UN|TED STATES OF AMER|CA

 

Defendanl(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States Attorney Genera|'s Oftice
501 Third Street NW
Fourth F|oor
Washington, D.C. 20001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kristy L. Bennett

John Michael Bai|ey PC

5978 Knight Arnold Rd., Suite 400
!V|emphis, TN 38115 ~

(901) 529-1111

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

§Javio! Crews~ Clerk of Couri',-"
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CLERK OF Cé URJ/"./,f `
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/ ,
Date: [Q [ZQA§;Z \M
\/ Signa/ture of Clerld)r Deputy Clerk

 

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AFFIDAVIT QF PRQ§§E§§ §ERY ER

United States District Court for the Northern District Of Mississippi

William Cole Attorney: John Michael Bailey
Plaintiff($), John Michael Bailey, Attorney-At-Law
VS 5978 Knight Arnold Road, Suite 400
' Memphis TN 38115

 

 

*63217*

 

Carlos Nieves-Garcia and United States of AIIlerica | |l|| ll l|| ll |
Defendant(S).

Case Number: 2:12-CV-19l_MPM-JMV

Legal documents received by Same Day Process Service, Inc. on 11/05/2012 at 3:50 PM to be served upon United
States Attorney General's Office, at 501 3rd Street NW, Fourth Floor , Washington, DC, 20001

I, Daniel Williams, swear and affirm that on November 06, 2012 at 12:59 PM, I did the following:

Served Government Agency by delivering a conformed copy of this Summons in a Civil Action; Complaint to
DAESHA MCCAIN as Authorized Agent at 501 3rd Street NW, Fourth Floor , Washington, DC 20001 of the
government agency and informing that person of the contents of the documents.

Description of Person Accepting Service:
Sex: Female Age: 37 Height: 5"9"-6"()" Weight: 161-200 lbs Skin Color: Brown Hair Color: Black

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

 

 

Daniel Willl'ar`iis \-“
Process Server

Same Day Process Service, Inc.
1219 llth St., NW

Washington DC 20001
(202)-398-4200

lnternal Job ID:63217

 

